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10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   [PROPOSED] ORDER GRANTING
16                                             )   STIPULATION AND JOINT MOTION TO
       v.                                      )   SCHEDULE SENTENCING HEARING AND TO
17                                             )   EXTEND TIME TO FILE POST-TRIAL
     ELIZABETH HOLMES and                      )   MOTIONS UNDER RULES 29, 33, 34
18   RAMESH “SUNNY” BALWANI,                   )
                                               )
19          Defendants.                        )   Hon. Edward J. Davila
                                               )
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28 [PROPOSED] ORDER GRANTING STIPULATION AND JOINT MOTION TO SCHEDULE
   SENTENCING HEARING AND TO EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER
   RULES 29, 33, 34
   CR-18-00258-EJD
             Case 5:18-cr-00258-EJD Document 1252 Filed 01/12/22 Page 2 of 2




 1          This Cause having come before the Court upon the parties’ Stipulation and Joint Motion to

 2 Schedule Sentencing Hearing and to Extend Time to File Post-Trial Motions Under Rules 29, 33, and

 3 34. After due consideration of the filing, the governing law and the argument of the parties:

 4                 IT IS HEREBY ORDERED that the Stipulation and Joint Motion to Schedule Sentencing

 5 Hearing and to Extend Time to File Post-Trial Motions Under Rules 29, 33, and 34 are GRANTED.

 6             IT IS FURTHER ORDERED that a sentencing hearing shall be scheduled for 1:30pm
                26
 7 PST September 12, 2022.

 8                 IT IS FURTHER ORDERED that the due date for any post-trial motions filed by Ms.

 9 Holmes under Rules 29, 33, and/or 34 is extended to March 4, 2022.

10                 IT IS FURTHER ORDERED that the following briefing schedule is entered:

11          March 4, 2022: Ms. Holmes’ motions under Rules 29, 33, and 34

12          April 29, 2022: Government oppositions

13          May 27, 2022: Ms. Holmes’ replies

14   A hearing on the motions is scheduled for 9:00 a.m. on June 16, 2022.

15                  IT IS SO ORDERED.

16
           January 12, 2022
17 Dated: _____________

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19                                                                     Hon. Edward J. Davila
                                                                       United States District Judge
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27 [PROPOSED] ORDER GRANTING STIPULATION AND JOINT MOTION TO SCHEDULE
   SENTENCING HEARING AND TO EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER
28 RULES 29, 33, 34
   CR-18-00258 EJD
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